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                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA
                                  CIVIL MINUTES -
                                     GENERAL

  Case No.       EDCV 20-02365-JWH (SPx)                               Date    January 8, 2021
  Title     Israel Rodriguez v. URS Midwest, Inc., et al.


  Present: The Honorable        JOHN W. HOLCOMB, UNITED STATES DISTRICT JUDGE
                Irene Vazquez                                          Miriam Baird
                Deputy Clerk                                          Court Reporter
    Attorney(s) Present for Plaintiff(s):                   Attorney(s) Present for Defendant(s):
            Orlando Villalba                                       Christopher J. Eckhart
                                                                    Timothy M. Fisher


Proceedings:        VIDEO HEARING RE: MOTION TO REMAND [ECF
                    NO. 10]


       Counsel state their appearances. The Court confers with counsel and hears
 oral argument. The Court takes the matter under submission.


          IT IS SO ORDERED.




                                                                                           Time: 00:26
                                                                                 Initials of Preparer: iv
